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                     EXHIBIT B
             Case 1:20-cv-10832-AT-SN Document 379-2 Filed 10/08/21 Page 2 of 2




From:                          Guerrier, Pascale <guerrierp@SEC.GOV>
Sent:                          Tuesday, September 21, 2021 10:08 AM
To:                            Gulay, Erol
Cc:                            Zornberg, Lisa; 'Tatz, Nicole'; 'Levander, Samuel'; 'mflumenbaum@paulweiss.com';
                               'mgertzman@paulweiss.com'; 'Dearborn, Meredith (mdearborn@paulweiss.com)';
                               'Linsenmayer, Robin (rlinsenmayer@paulweiss.com)'; ''Bunting, Kristina'
                               (kbunting@paulweiss.com)'; 'mkellogg@kellogghansen.com';
                               'rfigel@kellogghansen.com'; 'Oppenheimer, Bradley E.
                               <boppenheimer@kellogghansen.com> (boppenheimer@kellogghansen.com)';
                               'Pfeffer, Eliana M. (epfeffer@kellogghansen.com)'; ''White, Collin R.'
                               (cwhite@kellogghansen.com)'; Gressel, Anna; Ford, Christopher S.; Ceresney, Andrew
                               J.; 'Solomon, Matthew'; 'Janghorbani, Alexander'; 'Bamberger, Nowell D.'; Daniels, Jon;
                               Moye, Robert M.; Hanauer, Benjamin J.; Stewart, Ladan F; Waxman, Daphna A.;
                               Tenreiro, Jorge; Sylvester, Mark; Goody, Elizabeth; Augustini, Hope Hall
Subject:                       RE: Document Production-Recordings



Good morning Erol,

Can you please provide an update on production of the recording regarding the company meeting we discussed
at the meet and confer last Friday referenced in RPLI_SEC 0450812-13?

Thank you.

Pascale
Pascale Guerrier
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Brookfield Place
200 Vesey Street, Suite 400
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